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10
                       IN THE UNITED STATES DISTRICT COURT
11
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     DAVID CASSIRER, AVA CASSIRER,                         Case No. 05-cv-03459-JFW (Ex)
14   and UNITED JEWISH FEDERATION OF
     SAN DIEGO COUNTY, a California non-
15   profit corporation,                                   THYSSEN-BORNEMISZA
16                                                         COLLECTION FOUNDATION’S
                                Plaintiffs,                REPLY IN SUPPORT OF MOTION
17                                                         FOR SUMMARY ADJUDICATION
           v.
18                                                         Hon. John F. Walter
     THYSSEN-BORNEMISZA
19   COLLECTION FOUNDATION, an                             Date: March 16, 2015
20   agency or instrumentality of the Kingdom              Time: 1:30 p.m.
     of Spain;                                             Courtroom: 16
21
                                Defendant.                 Pre-Trial Conference: July 10, 2015
22                                                         Trial: July 28, 2015
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 1   I.    Plaintiffs’ Identify No Material Facts or Genuine Disputes to Preclude This
 2         Court from Deciding the Foundation’s Motion for Summary Adjudication
 3         A.     The Undisputed Material Facts Prove that Plaintiffs’ Claims Were
                  Settled and Resolved by the 1958 German Settlement Agreement
 4
           The undisputed material facts, and the historical documents from which they
 5
     come, are now before the Court. The Court is now in a position to conduct a legal
 6
     analysis of whether the 1958 German Settlement Agreement bars Plaintiffs from
 7
     making a modern claim in U.S. Courts against the Foundation, fifty years after “all”
 8
     claims were settled.
 9
           In 1939, Mr. Scheidwimmer paid RM 900 into a blocked account and obtained
10
     possession of Rue Saint-Honoré, après-midi, effet de pluie by Camille Pissarro (the
11
     “Painting”). See Combined Statement of Fact (“CSF”) ¶ 5. In 1948, Mrs. Lilly
12
     Neubauer filed a timely restitution claim in compliance with German post-war
13
     procedures. CSF ¶ 6. Mrs. Neubauer litigated her claim while represented by Mr.
14
     Siegfried Neuland, the attorney of her choice. CSF ¶ 7. In his perpetuation deposition,
15
     Mr. Cassirer stated that his grandparents “were satisfied with [Mr. Neuland’s] work,”
16
     that he was “a very good attorney and [Claude Cassirer] relied on him,” that “[h]e was
17
     very responsible,” and that “we had full confidence in Mr. Neuland.” Id.
18
           Mrs. Neubauer’s action was “combined” with an action brought by Mr.
19
     Sulzbacher. CSF ¶ 9. The action now involved the Painting and three additional
20
     artworks. CSF ¶ 28. Two of these three additional artworks were at the Munich
21
     Collecting Point at the war’s end and returned to Germany, giving Germany the
22
     responsibility for resolving any ownership disputes. CSF ¶ 29. In 1954, the U.S.
23
     Court of Restitution Appeals of the Allied High Commission for Germany considered
24
     an appeal brought by Mrs. Neubauer of a lower German court decision. CSF ¶ 8.
25
           In a document filed with the court, Mr. Neuland stated that, in his opinion, the
26
     current value of the Painting was at least 110,000 DM. CSF ¶ 13; Def. Resp. to Plfs’
27
28
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 1   Objs. to Evid. in SUF at 5. Mrs. Neubauer eventually dropped claims to the German
 2   artworks, sought as substitution for the Painting. CSF ¶¶ 30, 71.
 3         After nearly ten years of proceedings, a settlement was reached on February 28,
 4   1958 (“1958 German Settlement Agreement”). CSF ¶¶ 10, 81. That settlement
 5   included four parties and related to the Painting and additional artworks. CSF ¶¶ 10,
 6   28. The 1958 German Settlement Agreement included Mrs. Neubauer and Grete Kahn
 7   (Julius Sulzbacher’s heir) as distinct Jewish victims of the Nazi era dispossession of
 8   the artwork, Mr. Scheidwimmer, through whose hands the Painting had been
 9   transferred in 1939, and the German government. CSF ¶ 11. At the time of the
10   settlement, the current location of the Painting was still unknown to the 1958 German
11   Settlement Agreement parties. CSF ¶ 12.
12         The 1958 German Settlement Agreement states that Mrs. Neubauer was to
13   receive 120,000 DM from the German Reich. CSF ¶ 13. As of April 1, 1956, the
14   appraiser reported the value of the Painting as 120,000 DM. CSF ¶ 79; Def. Resp. to
15   Plfs’ Objs. to Evid. in SUF at 6. (The German Federal Restitution Act (or “BrüG”)
16   required claims to be valued as of April 1, 1956. CSF ¶ 78.) The 120,000 DM is
17   greater than the 110,000 DM proffered by Mr. Neuland. CSF ¶ 13; Def. Resp. to Plfs’
18   Objs. to Evid. in SUF at 6.
19         Ms. Kahn received the sum of 14,000 DM. CSF ¶ 14. The 1958 German
20   Settlement Agreement states that this amount is to be made from the payment made to
21   Mrs. Neubauer. Id. As part of the 1958 German Settlement Agreement, the two
22   German artworks found after the war and restituted to Germany, were given to
23   Scheidwimmer. CSF ¶¶ 15, 29. Article VI of the 1958 German Settlement Agreement
24   states: “This Settlement settles all mutual claims among the parties, including any
25   claims which might exist in accordance with Art. 47 REG.” Decl. G. Schnabel, Exh.
26   126 at 3. The 1958 German Settlement Agreement contains no language stating that
27
28
                                                  2
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 1   any of the parties retain an ownership right or any other right or interest. CSF ¶ 24;
 2   Def. Resp. to Plfs’ Objs. to Evid. in SUF at 14.1
 3         On May 2, 1958, the District Court of Munich – Reparations Chamber issued a
 4   decision. CSF ¶ 17. The decision states
 5         Initially, Neubauer requested from Scheidwimmer the restitution of the
           painting by Pissarro, alternatively, compensation for damages in the
 6
           amount of DM 25,000. – (cf. decision to transfer issued by the
 7         Reparations Authority on 9.5.1950, sheet 20 of the request I WKV
 8         190/54). Later on, the petitioner Neubauer changed her petition against
           Scheidwimmer as such that she demanded the surrogate for the Pissarro,
 9         namely the 2 [found German artworks] that were exchanged for it and are
10         still available today (cf. sheet 60 ff of the request I WKV 190/54). After
           it was recognized in the course of the proceedings that the second buyer
11         and racially persecuted Sulzbacher was dispossessed of the Pissarro by
12         the German Government, and after it was shown that the claims for
           compensation for damages against the government were far higher than
13         the value of the [two found German artworks], Neubauer made a claim
14         for compensation on the government by reason of the Pissarro picture.
     1
15    Plaintiffs note that German settlement interpretation principles direct the reader to
16   examine the intent of the Parties. Decl. G. Schnabel ¶ 23. The intent of the parties
     cannot be readily determined, as there is no one now alive who participated in the
17   German litigation or settlement. When asked about the German litigation, Claude
18   Cassirer stated he did not participate in the process and that any information he had
     regarding the Painting came from the German archives, the 1958 German Settlement
19   Agreement, and correspondence between Mrs. Neubauer and Mr. Neuland. Decl. I.
20   Tatevosyan, Exh.161 (C. Cassirer Depo. 195:14-196:12, Dec. 13, 2006). Plaintiffs
     made no effort to contact Mr. Neuland after the German litigation ended 1958 and
21   prior to 2001, at which point they learned that Mr. Neuland had since died. Id. (C.
22   Cassirer Depo. 204:5-18, Dec. 13, 2006). Plaintiffs maintain that the correspondence
     between Mrs. Neubauer and Mr. Neuland is privileged. Id. (C. Cassirer Depo. 197:4-
23   18, Dec. 13, 2006).
24          Plaintiff David Cassirer stated in his declaration that he “reviewed all of [his]
     father’s papers connected with the matter.” Decl. D. Cassirer ¶ 24. Plaintiffs refused
25   to make these materials available. Decl. I. Tatevosyan ¶¶ 4-6. Thus, the Court is left
26   with the documents themselves, and there is no language or other evidence that the
     parties to the 1958 German Settlement Agreement intended to reserve rights or make
27   future indeterminate claims against unidentified parties. The 1958 German Settlement
28   Agreement is what it claims to be – a finalized, stamped, court-approved settlement.

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 1         She only waived the restitution claim against Scheidwimmer as a result
 2         of the settlement of 2.28.1958 (cf. sheet 203 of the request I WKV
           190/54).
 3
     Decl. L. Stein, Exh. 55 at 2. The May 2, 1958, decision contains no language stating
 4
     that any of the parties retain an ownership right or any other right or interest. CSF ¶
 5
     24; Def. Resp. to Plfs’ Objs. to Evid. in SUF at 14.
 6
           The undated, handwritten notes, entitled “From Uncle Otto’s Notes – Regarding
 7
     Lilly Cassirer Neubauer,” state
 8
           At my application in connection with the restitution law, I have
 9         demanded the return of the painting or compensation for its value as the
10         [wartime] sale price of RM 900 was completely out of line with its real
           value. I also would have been willing to accept as part payment the 3
11         German paintings that Scheidwimmer had received from Sulzbacher in
12         exchange for the Pissaro [sic].

13   CSF ¶ 25.2 Mr. Cassirer’s family received the settlement proceeds from the German

14   government. CSF ¶ 27. These undisputed facts show that Plaintiffs’ claim to the

15   Painting was settled.3

16
17
     2
      Plaintiffs initially identified Claude Cassirer as the author of this document, provided
     to the Foundation by Plaintiffs. Decl. L. Brill, Exh. 149 at 4. After the Foundation
18   filed its motion, Plaintiffs retracted their statement. See id. at Exh. 150 at 4. Plaintiffs
19   affirmed that the handwriting on the document is that of Claude Cassirer. Id.
     Plaintiffs further note that Claude Cassirer “often referred to Lilly Neubauer’s
20   husband, Otto Neubauer, whose native language was German, as Uncle Otto,” but they
21   now lack “sufficient information to identify the original author, date, or other
     circumstance relating to the creation of any ‘notes’ by Otto Neubauer or anyone else
22   on which the document ‘From Uncle Otto’s Notes – Regarding Lilly Cassirer
23   Neubauer’ may have been based.” Id.
24
     3
      Laurie Stein’s expert report, Exhibit 15 to her Declaration, was offered to provide the
     Court with a comprehensive history of the Painting and a context in which to place the
25   1958 German Settlement Agreement. It is not a “deluge of irrelevant banalities,” Opp.
26   at 4, but a thorough recitation of information found in historical documents. The
     historical documents memorializing the German proceedings did not come to the Court
27   from Plaintiffs – who possessed them or had direct access to the German Archives, as
28   Mrs. Neubauer’s heirs – but from the Foundation.

                                                  4
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 1             B.         Plaintiffs Disputed Facts Do Not Preclude the Court from
 2                        Adjudicating the Foundation’s Motion
 3             In their Corrected Statement of Genuine Disputes of Material Facts (“GDMF”),

 4   reproduced in the CSF, Plaintiffs raise a host of objections to the Foundation’s

 5   Statement of Undisputed Facts (“SUF”). The majority of Plaintiffs’ objections attempt

 6   to split hairs – none of the objections undermine or undercut any of the relevant,

 7   undisputed facts. Plaintiffs identify 140 “genuine disputes of material fact.” Many of

 8   these are undisputed and/or not subject to reasonable dispute. See, e.g., CSF ¶ 44

 9   (“Hitler became Chancellor of Germany in 1933.”) Others simply restate undisputed

10   facts already identified by the Foundation. See, e.g., CSF ¶ 6 (“In 1948, Mrs.

11   Neubauer filed a timely restitution claim”); CSF ¶ 59 (“Lilly timely filed her claim in

12   1948”). Others contain unsupported assertions or opinions, with no identified factual

13   support. CSF ¶ 35 (“The Painting thus has unique atmospherics and captures the

14   grays, browns, and other tones so emblematic of Paris.”) Occasionally, these

15   unsupported assertions are inflammatory. See, e.g., CSF ¶ 118 (“Both the Baron and

16   TBC were either aware of or were willfully blind to numerous red flags concerning the

17   Paintings’ provenance.”) More still relate to events before the war or after 1958 and

18   have no relevance to this Motion.4 See, e.g., CSF ¶¶ 113-46. None of these “facts”

19   raise a factual dispute to preclude the Court from deciding the pending Motion.5

20
     4
21    Plaintiffs attack the post-1950s possession and ownership of the Painting. Opp. at 22-
     25. That the post-1950s possession and ownership was unchallenged until recently,
22   underscores that the 1958 German Settlement Agreement resolved Mrs. Neubauer’s
23   claims, as no post-settlement efforts were made to find the Painting. Plaintiffs’
     specific attacks on modern-day owners are not material to the Foundation’s Motion.
24   5
       Plaintiffs object to the translation of the 1958 German Settlement Agreement, Exhibit
25   38 to the Declaration of Laurie Stein, asserting that “it is not accurately translated and
26   it is not supported by a declaration under oath of a qualified translator or any facts to
     show the qualifications of the translator.” Def. Resp. to Plfs’ Objs. to Evid. in Decls.
27   at 2-3. The case law cited by Plaintiffs does not render the translation inadmissible,
28   and like all other translated documents the Foundation submitted, it was accompanied
     (Footnote continued on next page)

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 1             With that, the material, undisputed facts are now before the Court, and there are
 2   no meaningful or relevant disputes to preclude this Court from considering the
 3   Motion.6
 4   II.       Any “Taking in Violation of International Law” Was Remedied by
 5             Germany with the 1958 German Settlement Agreement where Germany
               Compensated those Parties for their Wartime Losses
 6
               Plaintiffs contend that the expropriation exception of the Foreign Sovereign
 7
     Immunities Act of 1976, 28 U.S.C. § 1330, et seq (“FSIA”) provides this Court with
 8
     jurisdiction over the Foundation.7 That exception abrogates sovereign immunity in a
 9
10   (Footnote continued from previous page)
     by a formal certification, made under oath, and signed by the identified translator. See,
11   e.g., Decl. L. Stein, Exh. 38.
12          Plaintiffs’ real objection is that there are slight differences between the parties’
     certified translations of the document. See Def. Resp. to Plfs’ Objs. to Evid. in SUF at
13   8 (comparing translations). But this is not a meaningful dispute. If the Foundation’s
14   translation is objectionable, the Foundation requests that the Court use Plaintiffs’
     preferred translation, which states that “[t]his Settlement settles all mutual claims
15   among the parties, including any claims which might exist in accordance with Art. 47
16   REG.” Decl. G. Schnabel, Exh. 126 at 3 (emphasis added).
17
     6
      Plaintiffs maintain that the 1958 German Settlement Agreement is a “conditional”
     agreement. Opp. at 8; CSF ¶ 81. The document itself notes that “[t]his settlement will
18   have final force unless revoked by the German Reich until 4/1/1958.” Decl. G.
19   Schnabel, Exh. 126 at 3. The settlement was not revoked and was thus made final.
     See CSF ¶ 17.
20   7
      Plaintiffs assert that the Foundation cannot challenge this Court’s subject matter
21   because the Ninth Circuit rejected the Foundation’s prior Rule 12(b)(6) challenges that
22   no exception to the FSIA applied to provide jurisdiction. This finding, however, does
     not establish that this Court’s subject matter jurisdiction can no longer be questioned.
23   Opp. at 17 (asserting that “jurisdiction had already been decided”). It established,
24   rather, that in considering the Foundations’ Rule 12(b)(6) challenge, the Ninth Circuit
     found that no exception to the FSIA appeared to preclude the Court’s subject matter
25   jurisdiction at that stage. The district court’s subject matter jurisdiction “is not a
26   waivable matter and may be raised at anytime by one of the parties, by motion or in the
     responsive pleadings, or sua sponte by the trial or reviewing court.” Emrich v. Touche
27   Ross & Co., 846 F.2d 1190, 1194 n.2 (9th Cir. 1988). Further, the law of the case
28   doctrine is discretionary, see United States v. Mills, 810 F.2d 907, 909 (9th Cir. 1987),
     (Footnote continued on next page)

                                                    6
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 1   case where “rights in property taken in violation of international law” are involved. 28
 2   U.S.C. § 1605(a)(3). The phrase “taken in violation of international law” refers to “the
 3   nationalization or expropriation of property without payment of the prompt adequate
 4   and effective compensation required by international law,” including “takings which
 5   are arbitrary or discriminatory in nature.” Zappia Middle E. Const. Co. Ltd. v. Emirate
 6   of Abu Dhabi, 215 F.3d 247, 251 (2d Cir. 2000) (emphasis added) (citation omitted).
 7   That a sovereign’s failure to remedy or compensate a taking was a condition in
 8   establishing that the taking rose to the level of “a violation of international law” has
 9   been recognized by this Court and others. See, e.g., Cassirer v. Kingdom of Spain, 461
10   F. Supp. 2d 1157, 1164 (C.D. Cal. 2006); Orkin v. Swiss Confederation, 770 F. Supp.
11   2d 612, 616 (S.D.N.Y. 2011).
12             The concept was recognized most recently in Abelesz v. Magyar Nemzeti Bank,
13   692 F.3d 661 (7th Cir. 2012), and, following remand from the district court, in Fischer
14   v. Magyar Államvasutak Zrt., Nos. 13-3073, 14-1319, --- F.3d ---, 2015 WL 294382
15   (7th Cir. Jan. 23, 2015), where the Jewish claimants, like Plaintiffs, sought
16   adjudication of World War II, discriminatory, taken property claims. Reversing the
17   district court’s finding that it had subject matter jurisdiction under the FSIA’s
18   expropriation exception, the Abelesz panel found that the plaintiffs failed to
19   demonstrate a violation of international law because they had not given Hungary an
20   opportunity to remedy the taking. See 692 F.3d at 697. The panel recognized that
21   until and unless the foreign court demonstrates that it is unwilling or unable to remedy
22   the violation of international law, it should not be forced to submit to the jurisdiction
23   of a U.S. Court. See id.
24             On remand the district court dismissed the action, finding that the plaintiffs
25   failed to demonstrate that the remedies in Hungary were inadequate. On appeal, the
26
     (Footnote continued from previous page)
27   and does not apply where “the evidence [before the court] is substantially different,”
28   United States v. Alexander, 106 F.3d 874, 876 (9th Cir. 1997).

                                                     7
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 1   Fischer panel affirmed, recognizing that “[a]t bottom, international law favors giving a
 2   state accused of taking property in violation of international law an opportunity to
 3   ‘redress it by its own means, within the framework of its own legal system’ before the
 4   same alleged taking may be aired in foreign courts.” Fischer, 2015 WL 294382, at *4
 5   (quoting Abelesz, 692 F.3d at 680). If a “violation of international law,” once
 6   committed, can never be undone or remedied, principles furthered by prudential
 7   exhaustion and international comity – principles that recognize the offending sovereign
 8   should have the opportunity to right its wrong in its own court – are meaningless.
 9         The Foundation never asserted that Plaintiffs failed to exhaust their remedies in
10   Germany or that this action belongs in German courts. The Foundation asserts that
11   international comity, as recognized in the cases above, counsels in favor of allowing
12   the offending sovereign to remedy the violation of international law. And where, as
13   here, the offending country (Germany) does “redress [the violation of international
14   law] by its own means, within the framework of its own legal system,” and that
15   process includes significant litigation (in which Mrs. Neubauer was represented by the
16   attorney of her choice, in proceedings before multiple courts of competent jurisdiction,
17   in which the court-appointed appraiser valued the Painting at a value greater than the
18   minimum requested by Mrs. Neubauer who signed a settlement agreement with three
19   other parties, and neither Plaintiffs nor any party to the timely litigation asserted that
20   the restitution proceedings or resulting 1958 German Settlement Agreement were
21   anything less than bona fide) Germany complied with principles of international
22   comity and remedied the violation of international law, depriving this Court of subject
23   matter jurisdiction over Plaintiffs’ claims.
24          Plaintiffs assert that the compensation paid to Mrs. Neubauer as part of the
25   1958 German Settlement Agreement does not remedy the violation of international law
26   because “international law,” including German law, recognizes that “return of
27   property” is the “preferred form” of restitution. Decl. G. Schnabel ¶ 155; see also
28   Decl. C. Vazquez ¶ 45. But a “preference” for physical restitution does not mean that
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 1   a violation of international law continues unless – and until – physical restitution is
 2   accomplished.8 In fact, Plaintiffs concede that “[c]ompensation in lieu of restitution is
 3   appropriate if restitution has become impossible or would be out of all proportion to
 4   the benefit to the victim.” Decl. C. Vazquez ¶ 45.9
 5         There is no dispute that for the duration of the German litigation and at the time
 6   of the 1958 German Settlement Agreement, the Painting’s location was unknown to
 7   the parties. CSF ¶¶ 12, 65, 72, 106. As physical restitution of the Painting was not
 8   possible, Mrs. Neubauer’s choice to accept compensation from Germany per the terms
 9   of the 1958 German Settlement Agreement – after Germany placed a monetary value
10   on the Painting that was greater than the minimum value placed on it by Mrs.
11
12
     8
      Plaintiffs’ attack Ms. Lynn Nicholas and her declaration, asserting that she “does not
13   establish that there was no taking in violation of international law.” Decl. G. Schnabel
14   at 37. Ms. Nicholas was not offered as an expert on international law nor does her
     report attempt to make legal arguments. As is evident from her CV and Expert Report,
15   Ms. Nicholas has extensive experience reviewing wartime takings claims and
16   resolutions. To that end, Ms. Nicholas was asked to provide her professional opinion
     on “whether or not the February 28, 1958, settlement between Lilly Cassirer Neubauer,
17   Jakob Scheidwimmer, Julius Sulzbacher and the German Reich, finalized on April 2,
18   1958, was a final, fair, and just resolution of her loss of the Painting in 1939.” Decl. L.
     Nicholas, Exh. 12 at 2. The weight ultimately afforded to this or any of the expert
19   reports submitted by either party, however, falls to the discretion of this Court. For
20   this case, the legal import of the German litigation and resulting 1958 German
     Settlement Agreement is a legal determination for this Court – not an expert – to make.
21
     9
      Plaintiffs’ reference and submit to the Court numerous foreign judgments that contain
22   language addressing the role and limitations of compensation in a restitution action.
23   See Decl. C. Vazquez ¶¶ 36-37, 47a-i; Exhs. 135-43. But the 1958 German Settlement
     Agreement is a settlement, and a settlement is a compromise reached between parties
24   with competing interests. It is not a court judgment where a court weighed competing
25   positions and applied relevant law in a reasoned decision, nor is it entitled to res
     judicata under German law. See Decl. W. Ernst II, Exh. 160, ¶ R17. A “contract must
26   be so interpreted as to give effect to the mutual intention of the parties as it existed at
27   the time of contracting, so far as the same is ascertainable and lawful,” Cal. Civ. Code
     § 1636, not to give effect to newly-fashioned theories of modern-day lawyers.
28
                                                  9
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 1   Neubauer and in accordance with the BRüG – complies with principles of international
 2   law and remedies the taking, as least for purposes of jurisdiction under the FSIA.10
 3   III.   U.S. Government Policy of Respecting the Finality of Foreign Governments
 4          Appropriate Restitution Actions Counsels in Favor of Respecting the
            Finality of the 1958 German Settlement Agreement11
 5
            In Von Saher v. Norton Simon Museum of Art at Pasadena, 862 F. Supp. 2d
 6
     1044 (C.D. Cal. 2012), this Court recognized the inherent problem with reviewing a
 7
     foreign government’s restitution proceedings. See id. at 1053. This Court granted the
 8
     museum’s motion to dismiss, as “[a]llowing Plaintiff’s action to proceed would have
 9
     ‘more than incidental effect in conflict with express foreign policy of the National
10
     Government.’” Id. (citation omitted).
11
            The Ninth Circuit reversed. See Von Saher v. Norton Simon Museum of Art at
12
     Pasadena, 754 F.3d 712 (9th Cir. 2014). The panel noted, as paramount to U.S. policy
13
     on the restitution of Nazi-looted art, “a commitment to respect the finality of
14
     ‘appropriate actions’ taken by foreign nations to facilitate the internal restitution of
15
16   10
       Plaintiffs contend that the 120,000 DM figure does not represent the fair market
17   value of the picture because the value of the Painting appears to have increased after
     1957. Opp. at 8; Decl. J. Petropoulos ¶ 39. Plaintiffs fail to acknowledge, however,
18   that the Court assigned to the Painting a value greater than the minimum value
19   identified by Mrs. Neubauer’s lawyer. CSF ¶ 13; Def. Resp. to Plfs’ Objs. to Evid. in
     SUF at 6. Nor do Plaintiffs dispute that the BRüG requires – as it still does today –
20   that the value accorded to property must be current as of April 1, 1956. CSF ¶ 78. The
21   point, however, is not whether this figure reflects the fair market value – the point is
     that this is the amount she accepted to settle her claim.
22   11
       Plaintiffs assert that this Court “has already rejected” the Foundation’s argument that
23   “resolving Plaintiffs’ claims on the merits will ‘run afoul of the Ninth Circuit’s recent
24   decision in Von Saher,’” Opp. at 21, and that by defending this action, the Foundation
     “forces Plaintiffs (and the Court) to relitigate the same issues over and over again,”
25   Opp. at 22. But it is Plaintiffs who are attempting to litigate Mrs. Neubauer’s settled
26   claim “over and over again.” The Foundation does not seek to invalidate the 1958
     German Settlement Agreement – it looks to this Court to recognize the import, impact,
27   and finality of a settlement agreement that resolves all claims between the parties
28   regarding the wartime takings of four artworks.

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 1   plundered art.” 753 F.3d at 721; see also id. at 720 (acknowledging U.S. “continuing
 2   and ongoing commitment to external restitution”); id. at 722. The panel found,
 3   however, that this “commitment” could not be invoked because while the artworks
 4   were subject to external restitution, it did not appear that the artworks were ever
 5   “subject to postwar internal restitution proceedings.” Id. at 721-23. The panel also
 6   questioned the legitimacy of the post-war Dutch restitution proceedings, acknowledged
 7   by a modern Dutch government to have been “bureaucratic, cold and often even
 8   callous.” Id. at 717, 722, 725. In other words, finality appropriately afforded to
 9   foreign sovereign’s restitution actions, was improper because the was no evidence in
10   the record to prove: (1) that the disputed artworks were, in fact, subject to internal
11   restitution proceedings, or (2) that such proceedings, had they occurred, were bona
12   fide.
13           On summary judgment, the record in this action contains the facts to fill these
14   holes. The Neubauer/Sulzbacher/Scheidwimmer/Germany litigation involved artworks
15   that were part of both the “external restitution process” and “internal restitution
16   process” following World War II that the Von Saher panel identified as “appropriate
17   actions.” Id. at 721. Two of the four artworks at issue in the litigation were found at
18   the Munich Collecting Point at the war’s end and were restituted to Germany, giving
19   Germany the responsibility for resolving any ownership disputes. CSF ¶ 29. In fact,
20   for a time Mrs. Neubauer made claims to these externally restituted German artworks
21   as substitution for the Painting. CSF ¶¶ 30, 71. While the Painting was not itself
22   physically returned to any of the post-WWII competing claimants, the Painting was
23   part of a settlement that involved artworks externally restituted to Germany by the
24   United States. Thus, under Von Saher, unless the Painting was not subject to
25   restitution proceedings or those proceedings were not bona fide or “appropriate,” the
26   finality of the 1958 German Settlement Agreement should be respected.
27           It is not disputed that the Painting (along with three other works) was the subject
28   of internal restitution proceedings in Germany. Nor is it disputed that the proceedings,
                                                  11
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 1   in which Mrs. Neubauer was represented by the lawyer of her choice and the court
 2   valued the Painting at a figure above the minimum suggested by Mrs. Neubauer, was
 3   bona fide.12 Plaintiffs challenge the translation of certain words used by German
 4   parties, lawyers, and courts more than fifty years ago, but they do not – and cannot –
 5   challenge the substance of the documents themselves.13 Because the 1958 German
 6   Settlement Agreement resolved all claims to artworks externally restituted by the
 7   United States in bona fide internal restitution proceedings, the Foundation respectfully
 8   requests that this Court acknowledge the “commitment to respect the finality of
 9   [Germany’s] ‘appropriate actions.’” Von Saher, 754 F.3d at 721.
10   IV.   Conclusion
11         For the reasons set forth above, the Foundation respectfully requests that the
12   Court grant its Motion for Summary Adjudication.
13   12
       Plaintiffs assert that immediately after the BRüG became effective, on July 19, 1957,
14   Mrs. Neubauer “reformulated” her restitution claim against Scheidwimmer into a
15   compensation claim against the German Reich. Decl. G. Schnabel ¶ 91. As a result of
     this “new claim,” Plaintiffs’ assert, the claims against Scheidwimmer and Sulzbacher-
16   Kahn were terminated, were not pending when the 1958 German Settlement
17   Agreement was signed, and were not resolved. Id. ¶¶ 92, 94, 96, 101. This theory is
     not supported by the clear language of the documents which make evident that the
18   Painting was always central to Mrs. Neubauer’s claim and the proceedings. Language
19   modified by Plaintiffs’ expert in an attempt to patch together this theory is ineffective.
     Def. Objs. to Evid. in Plfs’ GDMF at 120-21 (noting “(under the new BRüG)” is added
20   to court quotation); Decl. W. Ernst II, Exh. 160, ¶¶ R9-R15. But even if supportable, it
21   is of no import as the 1958 German Settlement Agreement, by its terms and by nature,
     resolved “all mutual claims among the parties,” Decl. G. Schnabel, Exh. 126 at 3
22   (emphasis added), not just those pending. See Decl. W. Ernst II, Exh. 160 ¶ R17.
23    Plaintiffs assert that in light of Sachs v. Deutsches Historisches Museum BGH Mar.
     13



24   16, 2012, V ZR 279/10, a German decision, Plaintiffs retain a right to seek restitution
     of the Painting in the United States. If this was a German court, if Plaintiffs were
25   German citizens, if the Foundation was a German state institution that had held the
26   Painting since it was taken by Germany during the war, and had the division of Eastern
     and Western Germany until 1989 precluded Plaintiffs (or their predecessors) from
27   bringing a claim, the Sachs decision might be analogous to this action and, therefore,
28   potentially relevant. These, however, are not the facts of this case.

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     Dated: March 2, 2015                Respectfully submitted,
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